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 5

 6   Attorneys for Defendant Jared Lee Loughner

 7

 8                                   UNITED STATES DISTRICT COURT

 9                                    FOR THE DISTRICT OF ARIZONA

10   UNITED STATES OF AM ERICA,               ) Case No. 11mj0035-LAB
                                              )
11         Plaintiff,                         )
                                              )
12   v.                                       ) NOTICE OF APPEARANCE
                                              )
13   JARED LEE LOUGHNER,                      )
                                              )
14         Defendant.                         )
                                              )
15   ________________________________________ )

16          Pursuant to implementation of the CM/ECF procedures in the District of Arizona, Reuben Camper

17   Cahn and Federal Defenders of San Diego, Inc. files this Notice of Appearance as co-counsel in the above-

18   captioned case.

19                                               Respectfully submitted,

20

21   Dated: January 14, 2011                      /s/ Reuben Camper Cahn
                                                 REUBEN CAMPER CAHN
22                                               Federal Defenders of San Diego, Inc.
                                                 Attorneys for Jared Lee Loughner
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              Case 4:11-cr-00187-LABU Document 24 Filed 01/14/11 Page 2 of 2

 1                                      CERTIFICATE OF SERVICE
 2          Counsel for Defendant certifies that the foregoing pleading is true and accurate to the best of his
 3   information and belief, and that a copy of the foregoing document has been served this day upon:
 4   Wallace Heath Kleindienst, US Attorney's Office
     Email: wallace.kleindienst@usdoj.gov
 5
     Beverly K Anderson, US Attorney's Office
 6   Email: bev.anderson@usdoj.gov
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10   Judy C. Clarke, Lead Attorney
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11
     Mark F. Fleming, Co-counsel
12   Email: mfflaw@cox.net
13                                                Respectfully submitted,
14

15   DATED: January 14, 2011                      /s/ Reuben Camper Cahn
                                                  REUBEN CAMPER CAHN
16                                                Federal Defenders of San Diego, Inc.
                                                  Attorneys for Jared Lee Loughner
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